
72 Cal.Rptr.3d 623 (2008)
177 P.3d 232
MONTGOMERY (Michael) on H.C.
No. S159141.
Supreme Court of California.
February 20, 2008.
Review granted/briefing deferred (8.512(d)(2) criminal case).
The petition for review is granted. Further action in this matter is deferred pending consideration and disposition of related issue in In re Sandra Lawrence on Habeas Corpus, S154018, In re Richard Shaputis on Habeas Corpus, S155872, and In re Arnold Jacobson on Habeas Corpus, S156416 (see Cal. Rules of Court, rule 8.512(d)(2)), or pending further order of the court. Submission of additional briefing, pursuant to California Rules of Court, rule 8.520, is deferred pending further order of the court.
GEORGE, C.J., and KENNARD, BAXTER, WERDEGAR, CHIN, MORENO, and CORRIGAN, JJ., concur.
